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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


GLEN THOMPKINS                                                       CIVIL ACTION

VERSUS                                                               NUMBER: 20-1388

WARDEN E. DUSTIN BICKHAM, et al.                                     SECTION: “G”(5)

                                              ORDER

           The Court, having considered the motion to dismiss, the record, the applicable law, the

Magistrate Judge’s Report and Recommendation, and the failure of Plaintiff to file any objections

to the Magistrate Judge’s Report and Recommendation, hereby approves the Magistrate Judge’s

Report and Recommendation and adopts it as its opinion herein.

           Accordingly,

           IT IS HEREBY ORDERED that Defendants’ motion to dismiss1 is GRANTED.

           IT IS FURTHER ORDERED that Plaintiff’s claims against all of the defendants in their

official capacities are DISMISSED WITHOUT PREJUDICE for lack of jurisdiction, and

Plaintiff’s claims against all of the defendants in their individual capacities are DISMISSED

WITH PREJUDICE for failure to state a claim upon which relief can be granted pursuant to

Federal Rule of Civil Procedure 12(b)(6), 28 U.S.C. §1915(e)(2)(B)(ii), 28 U.S.C. §1915A(b)(1),

and 42 U.S.C. §1997e(c)(1).

           NEW ORLEANS, LOUISIANA, this 30th day of December, 2020.




                                               NANNETTE JOLIVETTE BROWN
                                               CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
1
    Rec. Doc. 26.
